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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

David M Boswell, Jr. (R-47066),         )
                                        )
                        Plaintiff,      )
                                        )           Case No. 16 C 9070
              v.                        )
                                        )           Judge John Robert Blakey
Lt. Sullivan, et al.,                   )
                                        )
                        Defendants.     )

                                       ORDER

       Plaintiff’s motion and affidavit to proceed in district court without prepaying
fees and costs [3] is granted. The Court orders the trust fund officer at Plaintiff’s
place of incarceration to deduct $13.90 from Plaintiff’s account for payment to the
Clerk of Court as an initial partial payment of the filing fee, and to continue making
monthly deductions in accordance with this Order. The Clerk of Court shall send a
copy of this Order to the trust fund officer at the Pontiac Correctional Center. The
Court further directs the Clerk of Court to: (1) file Plaintiff’s complaint [1]; (2)
dismiss and terminate Defendants Anna McBee, John Doe Number 1, John Doe
Number 2, J Burzinski, C Bell, J Alberts, Jackson, Joshua J Clements, Clarence D
Wright, Sytera L Sanders, Duvall, N. Lamb, Tarry D Williams, T. Scott Keen, and
John R Baldwin; (3) issue summonses for service on Defendants Lt. Sullivan and C/O
Muniz by the U.S. Marshal; and (4) send Plaintiff two blank USM-285 service forms,
a magistrate judge consent form, filing instructions, and a copy of this Order. The
Court advises Plaintiff that a completed USM-285 (service) form is required for each
Defendant for whom summons has issued (Sullivan and Munoz). The U.S. Marshal
will not attempt service on a Defendant unless and until the required form is
received. The U.S. Marshal is appointed to serve Defendants Lt. Sullivan and C/O
Munoz. Plaintiff’s motion for attorney representation [4] is denied without
prejudice to renewal later in this case.

                                      STATEMENT

      Plaintiff David Boswell, Jr., a prisoner now confined at the Pontiac
Correctional Center, brings this pro se civil rights action pursuant to 42 U.S.C.
§1983, regarding an attack on him by another inmate while he was previously
incarcerated at Stateville Correctional Center. Plaintiff alleges that, on the evening
of March 31, 2015, he was housed in segregation with prisoner Maholmes as his
cellmate. Maholmes “learned” that Plaintiff had previously been housed in “‘X’
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House,” pending approval for protective custody, which Maholmes believed to
indicate that Plaintiff had “snitched,” i.e., provided information to internal affairs.
“After a brief conversation, it became apparent that d[ue] to his knowledge that I had
provided information . . . and my desire to no longer be a violent person, that we could
no longer co-exist in the same cell together” and existed in a “state of paranoia
toward each other.” [1] at 7. They then agreed that Plaintiff should “let staff know
about the situation and that a fight was” imminent if they remained cellmates.
Therefore, at 7 p.m., Plaintiff notified Lt. Sullivan, who was delivering his food tray,
of the reasons for their disagreement and that “violence was now imminent.” Id.
Plaintiff requested to be moved, and Lt. Sullivan walked away without a response.
Id. at 7-8. Tensions escalated after Plaintiff wrote letters to “Mrs. Rabedaue” and to
internal affairs requesting cell reassignment for his safety. Id. at 8. At 9:45-10:00
p.m., when he attempted to place those letters in the outgoing mail, Maholmes took
the first letter and read it, then “became very irate and yelling” that Plaintiff was
snitching on him. Id. Maholmes hit Plaintiff in the head, and Plaintiff restrained
him. Id. They then both began to pack their belongings, while Plaintiff kept an eye
out for another correctional officer. C/O Munoz walked by, and Plaintiff stopped
him and told him about the fight and requested to be moved before another fight
occurred. Id. at 9. C/O Munoz said he would notify Lt. Sullivan, left, and did not
return. Id. Immediately after that, “Maholmes declared the fight was not over and
came to attack [Plaintiff] again, and [Plaintiff] fought back,” prompting Maholmes to
grab an a/c adapter in a sock and swing it at Plaintiff, striking him in the head. Id.
This “assault with a potentially deadly weapon” “outraged” Plaintiff, who then
“charged” Maholmes to “tussle.” Id. They then mutually “agreed the fight was
over.” Id.

       When the guards changed shifts at 11:00 p.m., Plaintiff flagged down the first
officer who passed by his cell. Id. at 10. That officer separated the cellmates and
got medical attention for Plaintiff, whose head was bleeding. Id. Plaintiff was
written a disciplinary ticket and was found guilty of a disciplinary infraction of
fighting related to the incident. Id. at 10-12. Plaintiff served an “extra” 30 days in
segregation due to the disciplinary finding. Id. at 15. Plaintiff alleges that the
disciplinary finding was based upon incorrect facts and a failure to properly
investigate, and he complains that his story was not credited. Id. at 12-14.
Plaintiff brought this lawsuit, holding Defendants Lt. Sullivan and C/O Muniz
responsible for failing to protect him from his cellmate’s attack after he reported
their disagreement. The remaining Defendants were involved in the disciplinary
proceedings in some manner, and he holds them responsible for failing to discover
the truth and vindicate him as to the disciplinary ticket. Plaintiff seeks damages for
his pain and suffering, the expungement of his disciplinary record related to the
incident, and injunctive and other relief. Currently before the Court are Plaintiff’s
motion and affidavit seeking leave to proceed without prepaying fees and costs [3],

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his complaint [1] for initial review under 28 U.S.C. §1915A, and his motion for
attorney representation [4].

        Plaintiff’s motion for leave to proceed without prepaying fees and costs [3]
demonstrates that he cannot prepay the filing fee and is thus granted. Pursuant to
28 U.S.C. §1915(b)(1), (2), the Court orders: (1) Plaintiff to immediately pay (and the
facility having custody of him to automatically remit) $13.90 to the Clerk of Court for
payment of the initial partial filing fee and (2) Plaintiff to pay (and the facility having
custody of him to automatically remit) to the Clerk of Court twenty percent of the
money he receives for each calendar month during which he receives $10.00 or more,
until the $350 filing fee is paid in full. The Court directs the Clerk of Court to
ensure that a copy of this Order is mailed to each facility where Plaintiff is housed
until the filing fee has been paid in full. All payments shall be sent to the Clerk of
Court, United States District Court, 219 South Dearborn Street, Chicago, Illinois
60604, attn: Cashier=s Desk, 20th Floor, and shall clearly identify Plaintiff’s name
and the case number assigned to this case.

       Under 28 U.S.C. §§1915(e)(2) and 1915A(a), the Court is required to screen pro
se prisoners’ complaints and dismiss the complaint, or any claims therein, if the
Court determines that the complaint or claim is frivolous or malicious, fails to state a
claim on which relief may be granted, or seeks monetary relief against a defendant
who is immune from such relief. See Jones v. Bock, 549 U.S. 199, 214 (2007); Turley
v. Rednour, 729 F.3d 645, 649 (7th Cir. 2013).

        Courts screen prisoner litigation claims in the same manner as ordinary
Federal Rule of Civil Procedure 12(b)(6) motions to dismiss. See Maddox v. Love,
655 F.3d 709, 718 (7th Cir. 2011). A motion under Rule 12(b)(6) challenges the
sufficiency of the complaint. See Hallinan v. Fraternal Order of Police of Chi. Lodge
No. 7, 570 F.3d 811, 820 (7th Cir. 2009). Under Rule 8(a)(2), a complaint must
include “a short and plain statement of the claim showing that the pleader is entitled
to relief.” Fed. R. Civ. P. 8(a)(2). The short and plain statement under Rule 8(a)(2)
must “give the defendant fair notice of what the claim is and the grounds upon which
it rests.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (citation omitted).
Under federal notice pleading standards, a plaintiff’s “[f]actual allegations must be
enough to raise a right to relief above the speculative level.” Id. Put differently, a
“complaint must contain sufficient factual matter, accepted as true, to ‘state a claim
to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)
(quoting Twombly, 550 U.S. at 570).

       “In reviewing the sufficiency of a complaint under the plausibility standard,
[courts] accept the well-pleaded facts in the complaint as true.” Alam v. Miller


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Brewing Co., 709 F.3d 662, 665-66 (7th Cir. 2013). Courts also construe pro se
complaints liberally. See Erickson v. Pardus, 551 U.S. 89, 94 (2007) (per curiam).

         Here, accepting Plaintiff’s factual allegations as true, the Court finds that the
complaint states a colorable federal cause of action against Lt. Sullivan and C/O
Munoz. “Jail officials have a duty to protect inmates from violent assaults by other
inmates,” Rice ex rel. Rice v. Corr. Med. Serv., 675 F.3d 650, 669 (7th Cir. 2012)
(citing Farmer v. Brennan, 511 U.S. 825, 833 (1988)); see also Grieveson v. Anderson,
538 F.3d 763, 775 (7th Cir. 2008) (stating that jail officials have duty to protect
pretrial detainees from violence by other detainees); Swofford v. Mandrell, 969 F.2d
547, 549 (7th Cir. 1992) (similar), and may be liable if they are deliberately
indifferent to threats to detainees’ safety. See Guzman v. Sheahan, 495 F.3d 852,
857 (7th Cir. 2007)). Jails, however, “are dangerous places often full of people who
have demonstrated aggression,” Dale v. Poston, 548 F.3d 563, 569 (7th Cir. 2008),
and “[a] prison official is liable for failing to protect an inmate from another prisoner
only if the official ‘knows of and disregards an excessive risk to inmate health or
safety.’” Gevas v. McLaughlin, 798 F.3d 475, 480 (7th Cir. 2015) (citing Farmer, 511
U.S. at 837). “Complaints that convey only a generalized, vague or stale concern
about one’s safety typically will not support an inference that the official had actual
knowledge that the prisoner was in danger,” while “a complaint that identifies a
specific, credible, and imminent risk of serious harm and identifies the prospective
assailant typically will support an inference that the official to whom the complaint
was communicated had actual knowledge of the risk.” Id. at 480-81 (discussing
cases, citations omitted). “[N]egligence is not enough.” Smith v. Sangamon Cty.
Sheriff’s Dep’t, 715 F.3d 188, 191 (7th Cir. 2014) (citations omitted). Further,
because §1983 requires a defendant’s personal involvement in the alleged
constitutional violation, see Matz v. Klotka, 769 F.3d 517, 528 (7th Cir. 2014),
supervisory official cannot be held liable for the conduct of his subordinates based
merely on a theory of respondeat superior without any indication that the supervisory
official was somehow personally involved in the constitutional deprivation. See
Gayton v. McCoy, 593 F.3d 610, 622 (7th Cir. 2010); Perkins v. Lawson, 312 F.3d 872,
875 (7th Cir. 2002).

       Here, although later factual development may belie Plaintiff’s claims, his
allegation that he told both Lt. Sullivan and C/O Munoz that he was in danger from
his cellmate and presented a credible reason for his fear, see Dale v. Poston, 548 F.3d
563, 570 (7th Cir. 2008) (noting that “it’s common knowledge that snitches face
unique risks in prison”), arguably provided sufficiently concrete information of a
particular and immediate threat to Plaintiff’s safety, from a particular inmate, to put
these defendants on notice. See Gevas, 798 F.3d at 481 (holding that plaintiff’s
evidence that he told defendants that particular inmate threatened to stab him after
accusing him of being a snitch was sufficient to demonstrate a fact question
regarding their actual knowledge of risk). Plaintiff allegedly informed both of these
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Defendants that an altercation was imminent, and he informed C/O Muniz that the
cellmates had already fought. Neither Defendant returned prior to the shift change
that evening, allowing a plausible inference of deliberate indifference. Accordingly,
Plaintiff may proceed on a failure-to-protect claim against these defendants. He
may not, however, proceed on the existing complaint as to any other defendants
regarding a failure to protect, as he does not suggest that any other defendant knew
of a danger to him from his cellmate prior to either physical dispute.

        Plaintiff also may not proceed as to any due process claim regarding the
disciplinary proceedings and procedures that resulted in a finding that he had
engaged in fighting and the imposition of a thirty-day segregation term. The due
process clause, after all, does not guard against “every change in the conditions of
confinement having a substantial adverse impact on the prisoner.” Sandin v. Conner,
515 U.S. 472, 478 (1995) (citing Meachum v. Fano, 427 U.S. 215, 224 (1976)).
Instead, due process protections extend only to those conditions posing an “atypical
and significant hardship . . . in relation to the ordinary incidents of prison life,”
Sandin, 515 U.S. at 484, meaning that courts examine the prison disciplinary
procedures only where the penalty faced by the prisoner implicates a protected
liberty interest. Lekas v. Briley, 405 F.3d 602, 612 (7th Cir. 2005). Allegations that
an inmate served a short segregation term, absent facts suggesting particularly
onerous conditions, generally do not implicate a liberty interest. See id. (56 days);
Thomas v. Ramos, 130 F.3d 754, 761 (7th Cir. 1997) (70 days, “a relatively short
period when one considers his 12 year prison sentence”); Marion v. Columbia Corr.
Inst., 559 F.3d 693, 697-98 (7th Cir. 2009) (“[W]e have affirmed dismissal without
requiring a factual inquiry into the conditions of confinement.”); Means v. Larson,
580 Fed. App’x. 481, 482 (7th Cir. 2014) (“But Means’ term of just over one month, by
itself, did not implicate a liberty interest.”); see also Reed v. Kirk, No. 12 C 8582, 2016
WL 3476659, at *11 (N.D. Ill. June 27, 2016) (holding that Plaintiff’s mere 30-day
segregation confinement did “not implicate a liberty interest”). Here, the bare fact
that Plaintiff served a mere thirty days in segregation as a result of the allegedly
flawed disciplinary proceedings does not implicate a liberty interest.

      Accordingly, pursuant to the foregoing, Defendants Lt. Sullivan and C/O
Munoz must respond to the existing complaint as to Plaintiff’s claim of failure to
protect him from a known danger of attack from another inmate. All other
Defendants and claims are dismissed. Nothing in this order, which is based on
preliminary review of the complaint, precludes any legal argument that Defendants
may advance in response to Plaintiff’s allegations.

      The Court directs the Clerk to issue summonses for service of the complaint on
Defendants Lt. Sullivan and C/O Munoz. The Clerk of Court is directed to mail
Plaintiff two blank USM-285 (U.S. Marshals service) forms. The Court advises
Plaintiff that a completed USM-285 form is required for each Defendant for whom
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summons has issued (Lt. Sullivan and C/O Munoz). The U.S. Marshal will not
attempt service on a Defendant unless and until the required form is received.
Plaintiff must therefore complete and return a service form for each Defendant for
whom summons has issued, and failure to do so may result in the dismissal of the
unserved Defendant, as well as dismissal of this case in its entirety for lack of
prosecution.

      The Court appoints the U.S. Marshals Service to serve Defendants Lt.
Sullivan and C/O Munoz. The Court directs the U.S. Marshal to make all
reasonable efforts to serve Defendants. With respect to any former employee of the
Stateville Correctional Center who can no longer be found at the work address
provided by Plaintiff, officials there must furnish the U.S. Marshal with the
Defendant’s last-known address. The U.S. Marshal will use the information only for
purposes of effectuating service or to show proof of service, and any documentation of
the address shall be retained only by the U.S. Marshal. Address information will
not be maintained in the Court file nor disclosed by the U.S. Marshal, except as
necessary to serve Defendants. The U.S. Marshal is authorized to send a request for
waiver of service to Defendants in the manner prescribed by Federal Rule of Civil
Procedure 4(d) before attempting personal service.

       The Court instructs Plaintiff to file all future papers concerning this action
with the Clerk of this Court in care of the Prisoner Correspondent. In addition,
Plaintiff must send an exact copy of any document he files in this Court to
Defendants or to defense counsel if an attorney has entered an appearance on behalf
of Defendants. Every document submitted by Plaintiff must include a certificate of
service stating to whom exact copies were sent and the date of mailing. Any letters
or other documents sent directly to a judge or that otherwise fail to comply with these
instructions may be disregarded by the Court or returned to Plaintiff.

       Plaintiff’s motion seeking attorney representation [4] is denied at this time.
Although “[t]here is no right to court-appointed counsel in federal civil litigation,”
Olson v. Morgan, 750 F.3d 708, 711 (7th Cir. 2014), the Court has discretion to
request that an attorney represent an indigent litigant on a volunteer basis under 28
U.S.C. §1915(e)(1). In making the decision whether to recruit counsel, the Court
must engage in a two-step analysis, asking first whether the plaintiff has made a
reasonable attempt to obtain counsel on his own behalf or been effectively precluded
from doing so; and, if so, asking whether, given the factual and legal complexity of
the case, this particular plaintiff appears competent to litigate the matter himself.
Pruitt v. Mote, 503 F.3d 647, 654-55 (7th Cir. 2007) (en banc). This analysis does not
focus solely on the plaintiff’s ability to try the case, but on his ability to gather
evidence and prepare and respond to motions. Navejar v. Iyiola, 718 F.3d 692, 696
(7th Cir. 2013).

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        Factors to be considered include: (1) the stage of litigation, Romanelli v.
Suliene, 615 F.3d 847, 852 (7th Cir. 2010) (holding that it is difficult to make an
accurate determination regarding a plaintiff’s ability to litigate the matter when
case is still in “its infancy”); (2) plaintiff’s submissions and pleadings, Olson, 750
F.3d at 712 (well-written pleadings and appearance that plaintiff can follow
instructions indicate that counsel is not needed); (3) the existence of medical and
mental health issues, Olson, 750 F.3d at 712; (4) whether there has been a transfer
to a different facility, Junior v. Anderson, 724 F.3d 812, 815 (7th Cir. 2013) (transfer
to a different facility may impede plaintiff’s ability to obtain evidence including
affidavits/declarations from others to support his/her claim); (5) plaintiff’s
capabilities, including intelligence (IQ), literacy, degree of education, communication
skills, and litigation experience, Pruitt, 503 F.3d at 655; Dewitt v. Corizon, Inc., 760
F.3d 654, 658 (7th Cir. 2014) (recruitment of counsel required for a blind inmate
with a tenth-grade education); Henderson v. Ghosh, 755 F.3d 559, 565 (7th Cir. 2014)
(enlistment of counsel was necessary for a functionally illiterate inmate); and (6) the
complexity of the case, Dewitt, 760 F.3d at 658; Henderson, 755 F.3d at 566;
Santiago v. Walls, 599 F.3d 749, 761 (7th Cir. 2010); Pruitt, 503F.3d at 655-56.

       After considering the above factors, the Court concludes that solicitation of
counsel for Plaintiff is not currently warranted. Plaintiff indicates that he has
written to multiple law firms seeking representation but has received no responses
from most and a few unfavorable responses from those who did respond. Examining
the relevant factors with the information the Court currently possesses, including
the clarity of Plaintiff’s initial submissions, it does not appear that Plaintiff requires
the assistance of counsel at this time. Defendants have yet to answer. This case
remains in its infancy, and the Court has little information at this early stage to
gauge Plaintiff’s educational level or ongoing ability to represent himself as the case
progresses. See Romanelli, 615 F.3d at 852. Accordingly, Plaintiff’s motion is
denied without prejudice to later renewal.

Date: October 18, 2016
                                                ENTERED:


                                                _______________________________
                                                John Robert Blakey
                                                United States District Judge




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